           Case 3:24-bk-00496-BAJ     Doc 47-28     Filed 04/04/24   Page 1 of 3




                                 EXHIBIT COVER SHEET



                                                                             Exhibit

Party Submitting:     Mary Ida Townson, U.S. Trustee for Region 21


Admitted:             YES        or NO        (circle one)                         80


Chapter 11 Debtor:    Genie Investments NV, Inc.


Case No.              3:24−bk−00496−BAJ


Nature of Hearing:    Trial on

                      U.S. Trustee’s Motion to Appoint Chapter 11
                      Trustee, or, in the Alternative, Appoint
                      Examiner, Dismiss Case, or Convert Case to
                      Chapter 7 (Doc. No. 20)

                      Debtor’s Response Thereto (Doc. No. 34)

                      U.S. Trustee’s Reply (Doc. No. 38)

Trial Date:           April 9, 2024, at 9:00 a.m.




                            United States Bankruptcy Court
                               Middle District of Florida

                     Dated: ___________________________, 2024.


                     By: _______________________, Deputy Clerk
3/20/24, 6:45 PM        Case 3:24-bk-00496-BAJ           Doc 47-28      Filed
                                                              Mail - Adam Foster04/04/24
                                                                                - Outlook   Page 2 of 3

       BELOC Loan Closing Protocol
       Rene Jamulitrat <rJamulitrat@mcmanncommerciallending.com>
       Fri 6/23/2023 12:21 PM
       To:​Rene Jamulitrat <rJamulitrat@mcmanncommerciallending.com>​


          1 attachments (131 KB)
       BELOC Loan Closing Protocol.pdf;


       Hello,

       Please see attached for BELOC loan closing protocol.


       Thank you,

       Rene Jamulitrat
       Direct: 312-643-5036
       Office: 800-616-7276
       Administrative Assistant
       mcmanncommerciallending.com
       Appointment Calendar




https://outlook.live.com/mail/0/id/AQQkADAwATZiZmYAZC04NjE1LTA5NjgtMDACLTAwCgAQANY5VMtNsZZLhkwFZ%2BuCchQ%3D   1/1
         Case 3:24-bk-00496-BAJ       Doc 47-28    Filed 04/04/24   Page 3 of 3




Friday, June 23, 2023


                             BELOC Loan Closing Protocol


The protocol for BELOC loan closings will be going out this coming week. Once the
BELOC loan information has been confirmed then the funding process will begin. We
will not have a funding schedule until after applicants have been confirmed. McMann
Commercial Lending would like to thank everyone for their patience while we are
working through this loan closing process.




                Commercial Real Estate Underwriting | Advisory | Placement
